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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK



YUKOS CAPITAL SARL, YUKOS
HYDROCARBONS INVESTMENTS
LIMITED, STICHTING
ADMINISTRATIEKANTOOR
YUKOS INTERNATIONAL, STICHTING
ADMINISTRATIEKANTOOR FINANCIAL
PERFORMANCE HOLDINGS, LUXTONA
LIMITED and MARC FLEISCHMAN,
TRUSTEE OF THE 2015 SECURITY
TRUST, as successor in interest to the 2004
SECURITY TRUST,
                                                   Civil Action No.: 1:15-cv-04964-LAK

                              Plaintiffs,

                         v.

DANIEL CALEB FELDMAN,


                              Defendant.




                       NOTICE OF OF NON-PARTY
           ALLIANCEBERNSTEIN L.P.’S MOTION TO QUASH SUBPOENA

       PLEASE TAKE NOTICE that upon the accompanyng Memorandum of Law in Support of

Non-Party AllianceBernstein L.P.’s Motion to Quash Subpoena, dated October 23, 2017, and

accompanying exhibits, non-party AllianceBernstein L.P. (“AllianceBernstein”), by its

undersigned counsel, will move the Honorable Lewis A. Kaplan, United States District Judge,

United States District Court for the Southern District of New York, 500 Pearl Street, New York,

New York, 10007, on a date to be determined by the Court, if any, for an order (i) granting this
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Motion; (ii) quashing the subpoena issued by Defendant Daniel Caleb Feldman on

AllianceBernstein; and (iii) ordering any such further relief that the Court deems just and proper.



Dated: October 23, 2017
                                             Respectfully submitted,

                                             s/ Sean M. Murphy
                                             MILBANK, TWEED, HADLEY & McCLOY LLP
                                             Sean M. Murphy
                                             28 Liberty Street
                                             New York, NY 10005
                                             Telephone: 212-530-5688
                                             Facsimile: 212-822-5688
                                             Email: smurphy@milbank.com

                                             Attorney for Non-Party AllianceBernstein L.P.
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                               CERTIFICATE OF SERVICE

       I certify that on October 23, 2017, true and correct copies of the foregoing NOTICE OF

NON-PARTY ALLIANCEBERNSTEIN L.P.’S MOTION TO QUASH SUBPOENA were

served via the Case Management/Electronic Case Filing (CM/ECF) system on all parties registered

for CM/ECF in the above-captioned matters.




                                                    /s/ Sean M. Murphy
                                                      Sean M. Murphy
